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 1                                                              Hon. Richard A. Jones
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 7                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 8                                AT SEATTLE
 9
     UNITED STATES OF AMERICA,
10                                                 No. CR16-68RAJ
                          Plaintiff,
11
            v.                                     ORDER GRANTING MOTION
12                                                 TO SUBSTITUTE COUNSEL
     MIGUEL SOLTERO SAMANIEGA,
13
                          Defendant.
14

15       THIS MATTER having come before the Court on defendant’s motion to
16   substitute counsel, and the Court finding good cause,
17       It is hereby ordered that defendant’s motion to substitute counsel (Dkt. #30) is
18   GRANTED. Appointed counsel Nicholas Marchi is permitted to withdraw and
19   retained counsel Peter A. Camiel is allowed to substitute as counsel for defendant.

20       DATED this 28th day of April, 2016.

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22
                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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      ORDER GRANTING MOTION
      TO SUBSTITUTE COUNSEL - 1
